            Case 2:24-cv-04744-RGK-AJR           Document 23    Filed 07/29/24   Page 1 of 4 Page ID
                                                       #:86

                       1 LATHAM & WATKINS LLP
                           Marvin S. Putnam (Bar No. 212839)
                       2     marvin.putnam@lw.com
                       3   Laura R. Washington (Bar No. 266775)
                             laura.washington@lw.com
                       4 10250 Constellation Blvd., Suite 1100
                         Los Angeles, California 90067
                       5 Telephone: +1.424.653.5500
                       6 Facsimile: +1.424.653.5501
                       7 Attorneys for Defendants
                         Netflix, Inc., and
                       8 Netflix Worldwide Entertainment, LLC
                       9
                                            UNITED STATES DISTRICT COURT
                  10
                                          CENTRAL DISTRICT OF CALIFORNIA
                  11
                  12
                  13       FIONA HARVEY,                        Case No. 2:24-cv-04744-RGK-AJR

                  14                    Plaintiff,              DEFENDANTS’ APPLICATION FOR
                                                                LEAVE TO FILE DOCUMENTS IN
                  15            v.                              SUPPORT OF DEFENDANTS’
                                                                SPECIAL MOTION TO STRIKE
                  16       NETFLIX, INC., and NETFLIX           UNDER SEAL
                           WORLDWIDE ENTERTAINMENT,
                  17       LLC,                                 Hon. R. Gary Klausner
                  18                    Defendants.
                  19
                  20
                  21
                  22
                  23
                  24
                  25
                  26
                  27
                  28

                                                                                  Case No. 2:24-cv-04744-RGK-AJR
ATTOR NEY S A T LA W
  CENT URY CI TY                                                   DEFENDANTS’ APPLICATION FOR LEAVE TO FILE
                                                                                     DOCUMENTS UNDER SEAL
            Case 2:24-cv-04744-RGK-AJR             Document 23     Filed 07/29/24     Page 2 of 4 Page ID
                                                         #:87

                       1        TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                       2        PLEASE TAKE NOTICE that, pursuant to Local Rule 79-5.2.2(a),
                       3 Defendants Netflix, Inc. and Netflix Worldwide Entertainment, LLC (collectively,
                       4 “Defendants” or “Netflix”) hereby apply for leave to file under seal documents in
                       5 support of Netflix’s Special Motion to Strike.
                       6        The common law right of access to judicial proceedings “is not absolute and
                       7 can be overridden given sufficiently compelling reasons for doing so.” Foltz v. State
                       8 Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1135 (9th Cir. 2003). Documents may be
                       9 sealed when the compelling reasons for doing so outweigh the public’s right of
                  10 access. EEOC v. Erection Co., 900 F.2d 168, 170 (9th Cir. 1990). “The Ninth
                  11 Circuit has held that compelling reasons exist to keep personal information
                  12 confidential to protect an individual’s privacy interest and to prevent exposure to
                  13 harm or identity theft.” Activision Publ’g, Inc. v. EngineOwning UG, 2023 WL
                  14 2347134, at *1 (C.D. Cal. Feb. 27, 2023) (citing Foltz, 331 F.3d at 1134; Kamakana
                  15 v. City & Cnty. of Honolulu, 447 F.3d 1172, 1179 (9th Cir. 2006)); see also Stiner v.
                  16 Brookdale Senior Living, Inc., 2022 WL 1180216, at *2 (N.D. Cal. Mar. 30, 2022)
                  17 (courts “routinely find compelling reasons to seal personally-identifying information
                  18 that has minimal relevance to the underlying causes of action”). In addition,
                  19 “‘compelling reasons’ sufficient to outweigh the public’s interest in disclosure and
                  20 justify sealing court records exist when such ‘court files might have become a
                  21 vehicle for improper purposes,’ such as the use of records to gratify private spite,
                  22 promote public scandal, circulate libelous statements, or release trade secrets.”
                  23 Kamakana, 447 F.3d at 1179 (quoting Nixon v. Warner Commc’ns, Inc., 435 U.S.
                  24 589, 598 (1978)).
                  25            Defendants respectfully request that Exhibits 1-41, 43-51, and 53-60 to the
                  26 Declaration of Richard Gadd in Support of Netflix’s Special Motion to Strike (the
                  27 “Gadd Exhibits”) and Exhibit 7 to the Declaration of Laura Wray in Support of
                  28 Netflix’s Special Motion to Strike (the “Wray Exhibit”) be filed under seal because
                                                                    2
                                                                                       Case No. 2:24-cv-04744-RGK-AJR
ATTOR NEY S A T LA W
  CENT URY CI TY                                                        DEFENDANTS’ APPLICATION FOR LEAVE TO FILE
                                                                                          DOCUMENTS UNDER SEAL
            Case 2:24-cv-04744-RGK-AJR             Document 23     Filed 07/29/24     Page 3 of 4 Page ID
                                                         #:88

                       1 (i) the Gadd Exhibits contain personally identifiable information of Richard Gadd
                       2 (“Gadd”) and other third parties whose privacy interests are implicated, and (ii) the
                       3 Gadd Exhibits and the Wray Exhibit contain personally identifiable and/or private
                       4 information of third parties which, if made public, and in light of the high-profile
                       5 nature of this dispute, “might [] become a vehicle for improper purposes,” including
                       6 “to gratify private spite,” “promote public scandal,” and/or “circulate libelous
                       7 statements.” See Declaration of Marvin S. Putnam in Support of Defendants’
                       8 Application for Leave to File Documents in Support of Defendants’ Special Motion
                       9 to Strike at ¶¶ 3-12.
                  10            Gadd, Laura Wray (“Wray”), and the other third parties’ interest in keeping
                  11 their personally identifiable information and a few other deeply personal and
                  12 otherwise irrelevant pieces of information private is a compelling reason to seal these
                  13 documents that outweighs the public’s interest in disclosure. See Kamakana, 447
                  14 F.3d at 1179; see also United States v. Amodeo, 71 F.3d 1044, 1050 (2d Cir. 1995)
                  15 (“privacy interests of innocent third parties … should weigh heavily in a court’s
                  16 balancing equation”) (emphasis added); Mendiola v. Regents of Univ. of California,
                  17 2021 WL 9721281, at *1 (C.D. Cal. Dec. 1, 2021) (“The Court finds that the
                  18 proposed redactions are narrowly tailored to protect third-party privacy interests
                  19 and accordingly finds it appropriate to redact this information as proposed.”)
                  20 (emphasis added); Opperman v. Path, Inc., 2017 WL 1036652, at *4 (N.D. Cal. Mar.
                  21 17, 2017) (protecting “privacy interests of non-parties” by granting request to seal
                  22 documents containing “names, email addresses, and phone numbers” of non-
                  23 parties); Altemus v. Amazon.com Servs. LLC, 2024 WL 1078245, at *2 (S.D. Cal.
                  24 Mar. 12, 2024) (granting motion to seal private health information). And so is their
                  25 interest in this information not becoming “a vehicle for improper purposes,”
                  26 Kamakana, 447 F.3d at 1179, which is especially relevant given that this lawsuit was
                  27 brought by a prolific stalker and harasser. See generally Declarations of Richard
                  28 Gadd, Laura Wray, and Craig Seymour in Support of Defendants’ Special Motion
                                                                    3
                                                                                       Case No. 2:24-cv-04744-RGK-AJR
ATTOR NEY S A T LA W
  CENT URY CI TY                                                        DEFENDANTS’ APPLICATION FOR LEAVE TO FILE
                                                                                          DOCUMENTS UNDER SEAL
            Case 2:24-cv-04744-RGK-AJR             Document 23    Filed 07/29/24     Page 4 of 4 Page ID
                                                         #:89

                       1 to Strike. As filed with this Court, the Gadd Exhibits and the Wray Exhibit contain
                       2 limited redactions necessary to protect the privacy of Gadd, Wray, and other third
                       3 parties, and to prevent this information from becoming a vehicle for improper
                       4 purposes.
                       5        Accordingly, Netflix request that the Court enter the attached Proposed Order
                       6 Granting Netflix’s Application for Leave to File Documents in Support of Netflix’s
                       7 Special Motion to Strike Under Seal.
                       8
                       9 Dated: July 29, 2024                      Respectfully submitted,

                  10                                               LATHAM & WATKINS LLP
                  11                                               By /s/ Marvin S. Putnam
                  12                                                 Marvin S. Putnam
                                                                     Attorneys for Defendants
                  13                                                 Netflix, Inc., and Netflix Worldwide
                                                                     Entertainment, LLC
                  14
                  15
                  16
                  17
                  18
                  19
                  20
                  21
                  22
                  23
                  24
                  25
                  26
                  27
                  28
                                                                   4
                                                                                      Case No. 2:24-cv-04744-RGK-AJR
ATTOR NEY S A T LA W
  CENT URY CI TY                                                       DEFENDANTS’ APPLICATION FOR LEAVE TO FILE
                                                                                         DOCUMENTS UNDER SEAL
